Case 1:20-cv-02999-JMS-TAB Document 19 Filed 02/23/21 Page 1 of 3 PageID #: 101




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 PAIGE BOVA,                                           )
                                                       )
                Plaintiff,                             )
        v.                                             ) CASE NO. 1:20-cv-02999-JMS-TAB
                                                       )
 MILLIMAN, INC.,                                       )
                                                       )
                Defendant.                             )

             DEFENDANT’S PRELIMINARY WITNESS AND EXHIBIT LISTS

        Defendant, Milliman, Inc., submits its Preliminary Witness and Exhibit Lists.

                                    Preliminary Witness List

        Defendant submits the following list of anticipated witnesses it may call to testify on

 its behalf at any trial in the above-captioned litigation:

        1.      Anne Jackson

        2.      Robert Damler

        3.      Matthew Berman

        4.      Derek Cole

        5.      Paige Bova

        6.      Witnesses identified in Plaintiff’s initial disclosures or preliminary witness list

        7.      Witnesses who may be used for authentication of documents

        8.      Witnesses who may be used for impeachment or rebuttal

        As investigation and discovery are ongoing, Defendant reserves the right to modify, amend,

 and/or supplement this Preliminary Witness List.
Case 1:20-cv-02999-JMS-TAB Document 19 Filed 02/23/21 Page 2 of 3 PageID #: 102




                                    Preliminary Exhibit List

        Defendant lists the following documents and things it anticipates may be used at trial in

 the above-captioned litigation:

        1.      Plaintiff’s employment records, personnel documents, pay records, performance
                coaching records, and any other relevant documents related to Plaintiff’s
                employment with Defendant;

        2.      Defendant’s relevant job descriptions;

        3.      Defendant’s relevant policies and procedures;

        4.      Documents related to Plaintiff’s December 2019 report to Defendant regarding
                Andy Barnes;

        5.      Documents obtained from any government agency;

        6.      Documents introduced in any deposition taken by the parties in this case;

        7.      Documents produced by any party or non-party in this matter, including Plaintiff’s
                medical providers; and

        8.      Documents reflecting Plaintiff’s efforts to mitigate any alleged damages;

        9.      All documents, information and tangible things tendered, referenced or produced
                in discovery;

        10.     Any admissible exhibits listed on Plaintiff’s Preliminary Exhibit List;

        11.     All pleadings, affidavits, and other matters filed with the Court;

        12.     Any and all other documents, information, and tangible things that may cast doubt
                upon and/or disprove any element of Plaintiff’s claims as to liability and/or
                damages;

        13.     Any and all other documents, information, and tangible things that may support
                and/or prove any defenses or affirmative defenses; and

        14.     Any exhibits necessary for impeachment or rebuttal.


        Defendant reserves the right to amend or supplement this Preliminary Exhibit List.




                                                  2
Case 1:20-cv-02999-JMS-TAB Document 19 Filed 02/23/21 Page 3 of 3 PageID #: 103




                                               Respectfully submitted,



                                               /s/ Michael W. Padgett
                                               Michael W. Padgett
                                               Jackson Lewis P.C.
                                               211 North Pennsylvania Street, Suite 1700
                                               Indianapolis, Indiana 46204
                                               Telephone: (317) 489-6930
                                               Facsimile: (317) 489-6931
                                               E-mail: michael.padgett@jacksonlewis.com

                                               Attorney for Defendant,
                                               Milliman, Inc.




                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 23, 2021, a copy of the foregoing Defendant’s Preliminary

 Witness and Exhibit Lists was filed electronically with the Court’s electronic filing system. Notice

 of this filing will be sent to the following parties by operation of the Court’s electronic filing

 system. Parties may access this filing through the Court’s system.

                                        Christopher E. Clark
                                        Goodin Abernathy, LLP
                                        301 East 38th Street
                                        Indianapolis, Indiana 46205
                                        cclark@goodinabernathy.com



                                               /s/ Michael W. Padgett
                                               Michael W. Padgett


 4838-3801-1357, v. 1




                                                   3
